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    Desc     Exhibit Exhibit G - Bank Exhibit No. 3    Page      6 of 215
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    Desc     Exhibit Exhibit G - Bank Exhibit No. 3    Page      8 of 215
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Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
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Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     12 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     13 of 215
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Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     17 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     18 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     19 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     20 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     21 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     22 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     23 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     24 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     25 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     26 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     27 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     28 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     29 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     30 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     31 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     32 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     33 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     34 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     35 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     36 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     37 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     38 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     39 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     40 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     41 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     42 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     43 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     44 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     45 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     46 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     47 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     48 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     49 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     50 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     51 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     52 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     53 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     54 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     55 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     56 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     57 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     58 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     59 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     60 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     61 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     62 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     63 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     64 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     65 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     66 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     67 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     68 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     69 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     70 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     71 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     72 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     73 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     74 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     75 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     76 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     77 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     78 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     79 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     80 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     81 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     82 of 215
Case 19-10214 Doc       166-7 Filed 07/23/19 Entered     07/23/19 16:20:47
   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     83 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     84 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     85 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     86 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     87 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     88 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     89 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     90 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     91 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     92 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     93 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     94 of 215
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   Desc     Exhibit Exhibit G - Bank Exhibit No. 3     Page     95 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      100 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      102 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      103 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      104 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      107 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      108 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      109 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      110 of 215
Case 19-10214 Doc        166-7 Filed 07/23/19 Entered      07/23/19 16:20:47
  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      111 of 215
Case 19-10214 Doc        166-7 Filed 07/23/19 Entered      07/23/19 16:20:47
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      113 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      114 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      116 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      117 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      118 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      119 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      120 of 215
Case 19-10214 Doc        166-7 Filed 07/23/19 Entered      07/23/19 16:20:47
  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      121 of 215
Case 19-10214 Doc        166-7 Filed 07/23/19 Entered      07/23/19 16:20:47
  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      122 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      123 of 215
Case 19-10214 Doc        166-7 Filed 07/23/19 Entered      07/23/19 16:20:47
  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      124 of 215
Case 19-10214 Doc        166-7 Filed 07/23/19 Entered      07/23/19 16:20:47
  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      125 of 215
Case 19-10214 Doc        166-7 Filed 07/23/19 Entered      07/23/19 16:20:47
  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      126 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      127 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      128 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      129 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      130 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      131 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      132 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      135 of 215
Case 19-10214 Doc        166-7 Filed 07/23/19 Entered      07/23/19 16:20:47
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      137 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      139 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      140 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      141 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      142 of 215
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  Desc      Exhibit Exhibit G - Bank Exhibit No. 3      Page      150 of 215
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